          DECLARATION OF

I,                                   , hereby state the following:

     1.



     2.     I am an adult of sound mine. All statements in this declaration are based
            on my personal knowledge and are true and correct.

     3.     I am making this statement voluntarily and on my own initiative. I have
            not been promised, nor do I expect to receive, anything in exchange for my
            testimony and giving this statement. I have no expectation of any profit
            or reward and understand that there are those who may seek to harm me
            for what I say in this statement. I have not participated in any political
            process in the United States, have not supported any candidate for office
            in the United States, am not legally permitted to vote in the United
            States, and have never attempted to vote in the United States.

     4.     I want to alert the public and let the world know the truth about the
            corruption, manipulation, and lies being committed by a conspiracy of
            people and companies intent upon betraying the honest people of the
            United States and their legally constituted institutions and fundamental
            rights as citizens. This conspiracy began more than a decade ago in
            Venezuela and has spread to countries all over the world. It is a conspiracy
            to wrongfully gain and keep power and wealth. It involves political
            leaders, powerful companies, and other persons whose purpose is to gain
            and keep power by changing the free will of the people and subverting the
            proper course of governing.

     5.
                                                   Over the course of my career, I
            specialized in the marines



     6.     Due to my training in special operations and my extensive military and
            academic formations, I was selected for the national security guard detail
            of the President of Venezuela.




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     sophisticated electronic voting system that permitted the leaders of the
     Venezuelan government to manipulate the tabulation of votes for national
     and local elections and select the winner of those elections in order to gain
     and maintain their power.

10. Importantly, I was a direct witness to the creation and operation of an
    electronic voting system in a conspiracy between a company known as
    Smartmatic and the leaders of conspiracy with the Venezuelan
    government. This conspiracy specifically involved President Hugo Chavez
    Frias, the person in charge of the National Electoral Council named Jorge
    Rodriguez, and principals, representatives, and personnel from
    Smartmatic which included                                          . The
    purpose of this conspiracy was to create and operate a voting system that
    could change the votes in elections from votes against persons running
    the Venezuelan government to votes in their favor in order to maintain
    control of the government.

11. In mid-February of 2009, there was a national referendum to change the
    Constitution of Venezuela to end term limits for elected officials, including
    the President of Venezuela. The referendum passed. This permitted Hugo
    Chavez to be re-elected an unlimited number of times.

12. After passage of the referendum, President Chavez instructed me to make
    arrangements for him to meet with Jorge Rodriguez, then President of the
    National Electoral Council, and three executives from Smartmatic.
    Among the three Smartmatic representatives were

                   President Chavez had multiple meetings with Rodriguez
     and the Smartmatic team at which I was present. In the first of four
     meetings, Jorge Rodriguez promoted the idea to create software that
     would manipulate elections. Chavez was very excited and made it clear
     that he would provide whatever Smartmatic needed. He wanted them
     immediately to create a voting system which would ensure that any time
     anything was going to be voted on the voting system would guarantee
     results that Chavez wanted. Chavez offered Smartmatic many
     inducements, including large sums of money, for Smartmatic to create or
     modify the voting system so that it would guarantee Chavez would win
     every election cycle. Smartmatic’s team agreed to create such a system
     and did so.

13. I arranged and attended three more meetings between President Chavez
    and the representatives from Smartmatic at which details of the new

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    voting system were discussed and agreed upon. For each of these
    meetings, I communicated directly with                     on details of
    where and when to meet, where the participants would be picked up and
    delivered to the meetings, and what was to be accomplished. At these
    meetings, the participants called their project the “Chavez revolution.”
    From that point on, Chavez never lost any election. In fact, he was able
    to ensure wins for himself, his party, Congress persons and mayors from
    townships.

14. Smartmatic’s electoral technology was called “Sistema de Gestión
    Electoral” (the “Electoral Management System”). Smartmatic was a
    pioneer in this area of computing systems. Their system provided for
    transmission of voting data over the internet to a computerized central
    tabulating center. The voting machines themselves had a digital display,
    fingerprint recognition feature to identify the voter, and printed out the
    voter’s ballot. The voter’s thumbprint was linked to a computerized record
    of that voter’s identity. Smartmatic created and operated the entire
    system.

15. Chavez was most insistent that Smartmatic design the system in a way
    that the system could change the vote of each voter without being
    detected. He wanted the software itself to function in such a manner that
    if the voter were to place their thumb print or fingerprint on a scanner,
    then the thumbprint would be tied to a record of the voter’s name and
    identity as having voted, but that voter would not tracked to the changed
    vote. He made it clear that the system would have to be setup to not leave
    any evidence of the changed vote for a specific voter and that there would
    be no evidence to show and nothing to contradict that the name or the
    fingerprint or thumb print was going with a changed vote. Smartmatic
    agreed to create such a system and produced the software and hardware
    that accomplished that result for President Chavez.

16. After the Smartmatic Electoral Management System was put in place, I
    closely observed several elections where the results were manipulated
    using Smartmatic software. One such election was in December 2006
    when Chavez was running against Rosales. Chavez won with a landslide
    over Manuel Rosales - a margin of nearly 6 million votes for Chavez versus
    3.7 million for Rosales.

17. On April 14, 2013, I witnessed another Venezuelan national election in
    which the Smartmatic Electoral Management System was used to
    manipulate and change the results for the person to succeed Hugo Chávez

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    as President. In that election, Nicolás Maduro ran against Capriles
    Radonsky.

                 Inside that location was a control room in which there were
    multiple digital display screens – TV screens – for results of voting in each
    state in Venezuela. The actual voting results were fed into that room and
    onto the displays over an internet feed, which was connected to a
    sophisticated computer system created by Smartmatic. People in that
    room were able to see in “real time” whether the vote that came through
    the electronic voting system was in their favor or against them. If one
    looked at any particular screen, they could determine that the vote from
    any specific area or as a national total was going against either candidate.
    Persons controlling the vote tabulation computer had the ability to change
    the reporting of votes by moving votes from one candidate to another by
    using the Smartmatic software.

18. By two o'clock in the afternoon on that election day Capriles Radonsky
    was ahead of Nicolás Maduro by two million votes. When Maduro and his
    supporters realized the size of Radonsky’s lead they were worried that
    they were in a crisis mode and would lose the election. The Smartmatic
    machines used for voting in each state were connected to the internet and
    reported their information over the internet to the Caracas control center
    in real-time. So, the decision was made to reset the entire system.
    Maduro’s and his supporters ordered the network controllers to take the
    internet itself offline in practically all parts in Venezuela and to change
    the results.

19. It took the voting system operators approximately two hours to make the
    adjustments in the vote from Radonsky to Maduro. Then, when they
    turned the internet back on and the on-line reporting was up and running
    again, they checked each screen state by state to be certain where they
    could see that each vote was changed in favor of Nicholas Maduro. At that
    moment the Smartmatic system changed votes that were for Capriles
    Radonsky to Maduro. By the time the system operators finish, they had
    achieved a convincing, but narrow victory of 200,000 votes for Maduro.

20. After Smartmatic created the voting system President Chavez wanted, he
    exported the software and system all over Latin America. It was sent to
    Bolivia, Nicaragua, Argentina, Ecuador, and Chile – countries that were
    in alliance with President Chavez. This was a group of leaders who
    wanted to be able to guarantee they maintained power in their countries.
    When Chavez died, Smartmatic was in a position of being the only

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    company that could guarantee results in Venezuelan elections for the
    party in power.

21. I want to point out that the software and fundamental design of the
    electronic electoral system and software of Dominion and other election
    tabulating companies relies upon software that is a descendant of the
    Smartmatic Electoral Management System. In short, the Smartmatic
    software is in the DNA of every vote tabulating company’s software and
    system.

22. Dominion is one of three major companies that tabulates votes in the
    United States. Dominion uses the same methods and fundamentally same
    software design for the storage, transfer and computation of voter
    identification data and voting data. Dominion and Smartmatic did
    business together. The software, hardware and system have the same
    fundamental flaws which allow multiple opportunities to corrupt the data
    and mask the process in a way that the average person cannot detect any
    fraud or manipulation. The fact that the voting machine displays a voting
    result that the voter intends and then prints out a paper ballot which
    reflects that change does not matter. It is the software that counts the
    digitized vote and reports the results. The software itself is the one that
    changes the information electronically to the result that the operator of
    the software and vote counting system intends to produce that counts.
    That’s how it is done. So the software, the software itself configures the
    vote and voting result -- changing the selection made by the voter. The
    software decides the result regardless of what the voter votes.

23. All of the computer controlled voting tabulation is done in a closed
    environment so that the voter and any observer cannot detect what is
    taking place unless there is a malfunction or other event which causes the
    observer to question the process. I saw first-hand that the manipulation
    and changing of votes can be done in real-time at the secret counting
    center which existed in Caracas, Venezuela. For me it was something
    very surprising and disturbing. I was in awe because I had never been
    present to actually see it occur and I saw it happen. So, I learned first-
    hand that it doesn’t matter what the voter decides or what the paper
    ballot says. It’s the software operator and the software that decides what
    counts – not the voter.

24. If one questions the reliability of my observations, they only have to read
    the words of
                                                               a time period in

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      which Smartmatic had possession of all the votes and the voting, the votes
      themselves and the voting information at their disposition in Venezuela.

                he was assuring that the voting system implemented or used
      by Smartmatic was completely secure, that it could not be compromised,
      was not able to be altered.

25. But later, in 2017 when there were elections where Maduro was running
    and elections for legislators in Venezuela,           and Smartmatic broke
    their secrecy pact with the government of Venezuela. He made a public
    announcement through the media in which he stated that all the
    Smartmatic voting machines used during those elections were totally
    manipulated and they were manipulated by the electoral council of
    Venezuela back then.                stated that all of the votes for Nicholas
    Maduro and the other persons running for the legislature were
    manipulated and they actually had lost. So I think that's the greatest
    proof that the fraud can be carried out and will be denied by the software
    company that               admitted publicly that Smartmatic had created,
    used and still uses vote counting software that can be manipulated or
    altered.

26. I am alarmed because of what is occurring in plain sight during this 2020
    election for President of the United States. The circumstances and events
    are eerily reminiscent of what happened with Smartmatic software
    electronically changing votes in the 2013 presidential election in
    Venezuela. What happened in the United States was that the vote
    counting was abruptly stopped in five states using Dominion software. At
    the time that vote counting was stopped, Donald Trump was significantly
    ahead in the votes. Then during the wee hours of the morning, when there
    was no voting occurring and the vote count reporting was off-line,
    something significantly changed. When the vote reporting resumed the
    very next morning there was a very pronounced change in voting in favor
    of the opposing candidate, Joe Biden.

27.                                                  I have worked in gathering
      information, researching, and working with information technology.
      That's what I know how to do and the special knowledge that I have. Due
      to these recent election events, I contacted a number of reliable and
      intelligent ex-co-workers of mine that are still informants and work with
      the intelligence community. I asked for them to give me information that
      was up-to-date information in as far as how all these businesses are
      acting, what actions they are taking.

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   I declare under penalty of perjury that the foregoing is true and correct and that
this Declaration was prepared in Dallas County, State of Texas, and executed on
November 15, 2020.




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